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                                No. 20-15948

        In the   United States Court of Appeals
                           for the Ninth Circuit

       ANDREW TETER AND JAMES GRELL
                                Plaintiffs-Appellants,
                          v.
   ANNE E. LOPEZ, IN HER OFFICIAL CAPACITY AS THE
  ATTORNEY GENERAL OF THE STATE OF HAWAII AND AL
CUMMINGS, IN HIS OFFICIAL CAPACITY AS THE STATE SHERIFF
              DIVISION ADMINISTRATOR
                                Defendants-Appellees.
          Appeal from a Judgment of United States District Court
                        For the District of Hawaii
                    Civ. No. 19-cv-00183-ACK-WRP
             United States District Court Judge Alan C. Kay


     PLAINTIFFS-APPELLANTS’ NON-OPPOSITION TO
 DEFENDANTS-APPELLEES’ MOTION FOR AN EXTENSION
 OF TIME TO FILE A PETITION FOR REHEARING EN BANC



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      Come now, Appellants Andrew Teter and James Grell, by and through

counsel, and submit this, their Non-Opposition to Defendants-Appellees’ Motion for

an Extension of Time to File a Petition for Rehearing En Banc (DktEntry 119).

      Plaintiffs-Appellants notify this Court that they do not oppose the extension

sought by Defendants-Appellees.

      Respectfully submitted, this the 16 of August, 2023.


s/ Alan Beck
ALAN BECK (HI Bar No. 9145)                 s/ Stephen D. Stamboulieh
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27 because it contains 57 words.

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                               /s/ Stephen D. Stamboulieh
                               Stephen D. Stamboulieh


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      I hereby certify that on August 16, 2023, I filed the foregoing Document with

the Clerk of the Court for the United States Court of Appeals for the Ninth Circuit

by using the appellate CM/ECF system.

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                               /s/ Stephen D. Stamboulieh
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